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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



    JUDICIAL WATCH, INC.,

                         Plaintiff,

                  v.                                    Case No. 1:24-cv-00700-TJK

    U.S. DEPARTMENT OF JUSTICE,

                         Defendant.


                                      JOINT STATUS REPORT
       On April 16, 2024, the Court ordered the parties to “meet, confer, and file, by April 30, 2024,

a joint proposed schedule for briefing or disclosure.” Apr. 16, 2024 Minute Order. Pursuant to that

order, Plaintiff Judicial Watch and Defendant the U.S. Department of Justice hereby submit this joint

status report in this Freedom of Information Act (“FOIA”) case:

       I.      Background

       This case concerns a FOIA request in which Judicial Watch sought “transcripts, audio re-

cordings, and video recordings of all interviews of President Biden conducted during the course of

the investigation led by Special Counsel Robert Hur.” Compl., ECF No. 1, ¶ 5. Since Judicial Watch

filed its complaint, the Department produced redacted copies of written transcripts of the interviews.

The Department has withheld in full audio recordings of the interviews as exempt in full under FOIA

pursuant to FOIA Exemptions 6 and 7(C).1 Judicial Watch confirms that it is not challenging the

redactions made to the written transcript. See ECF No. 7, at 6 n.2. Judicial Watch likewise confirms

that it would not challenge any corresponding redactions made to the audio recordings.

       In light of the Department’s determination to withhold the audio recordings, Judicial Watch

consents to the Department’s pending motion to consolidate this case with Heritage Foundation v.

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 There are no video recordings of the interviews. Defendant reserves its rights to assert additional
FOIA exemptions during summary judgment briefing.

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U.S. Department of Justice, No. 24-cv-960-DLF (D.D.C.) and Cable News Network, Inc. v. U.S.

Department of Justice, No. 24-cv-961-RDM (D.D.C.). See ECF No. 7; see also id. at 6 n.2 (Judicial

Watch stating: “If the recordings are withheld, consolidation would be appropriate.”).

        II.       Proposed Briefing Schedule

        Pursuant to the Court’s April 16, 2024 minute order, the parties have met and conferred.

        Defendant’s position. Defendant proposes the following summary judgment briefing sched-

ule for this case:

                 June 14, 2024: Defendant files a motion for summary judgment.

                 July 8, 2024: Plaintiff files a combined response to Defendant’s motion for summary
                  judgment and a brief in support of Plaintiff’s cross-motion for summary judgment.

                 July 29, 2024: Defendant files a combined reply in support of its motion for summary
                  judgment and a response to Plaintiff’s cross-motion for summary judgment.

                 August 12, 2024: Plaintiff files a reply in support of its cross-motion for summary
                  judgment.

        This proposal sets out a reasonable schedule that will lead to the prompt resolution of this

FOIA case, and Plaintiff’s proposed schedule (infra) would prejudice Defendant’s ability to ade-

quately prepare its summary judgment briefing. In particular, it is reasonable to set June 14 (rather

than June 7) as the date for Defendant’s initial brief given Defendant’s obligation (not shared by

Plaintiff) to compile the necessary Vaughn declaration(s) justifying Defendant’s withholding and the

intervening Memorial Day weekend holiday. Moreover, Plaintiff’s proposal sets Defendant’s three-

week window to file its combined response and reply brief from June 28 to July 19. That timeframe

is not adequate given that (1) this period extends during the July 4 holiday, during which it will be

difficult to coordinate with other Department employees regarding the brief, and (2) Defendant may

need to respond to separate briefs from Judicial Watch, the Heritage Foundation, and CNN, if the

Court grants the pending motion to consolidate, which Judicial Watch no longer opposes. Finally,



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there is only a minor difference (12 days) between the close of briefing under either proposal, but

that short time period makes an important difference to the Department’s ability to adequately pre-

pare its summary judgment materials. Moreover, while Plaintiff avers that “Defendant only asserts

FOIA’s privacy exemptions,” Defendant may assert additional FOIA exemptions during summary

judgment briefing, and explicitly reserves the right to do so.

       Plaintiff’s position. Because of the significant public interest in the audio recordings and the

fact that Defendant only asserts FOIA’s privacy exemptions, Plaintiff believes briefing should occur

with a little more expediency and can do so without prejudicing any party. Plaintiff therefore pro-

poses the following schedule:

              June 7, 2024: Defendant files a motion for summary judgment.

              June 28, 2024: Plaintiff files a combined response to Defendant’s motion for summary

               judgment and a brief in support of Plaintiff’s cross-motion for summary judgment.

              July 19, 2024: Defendant files a combined reply in support of its motion for summary

               judgment and a response to Plaintiff’s cross-motion for summary judgment.

              July 31, 2024: Plaintiff files a reply in support of it’s motion for summary judgment.


 DATED: April 30, 2024                                 Respectfully submitted,

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                                                       Civil Division

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